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 Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     District of Maryland
     __________    District of __________

                                                               7
     Case number (If known): _________________________ Chapter _____



                                                                                                                              Check if this is an
                                                                                                                                 amended filing

Official Form 105
Involuntary Petition Against an Individual                                                                                               12/15

Use this form to begin a bankruptcy case against an individual you allege to be a debtor subject to an involuntary case. If you want to begin a
case against a non-individual, use the Involuntary Petition Against a Non-individual (Official Form 205). Be as complete and accurate as
possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write name and case number (if
known).


Part 1:       Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.     Chapter of the                   Check one:
       Bankruptcy Code
                                        
                                        ✔ Chapter 7
                                         Chapter 11

Part 2:       Identify the Debtor


2.     Debtor’s full name                Brandon
                                        __________________________________________________
                                        First name

                                         Michael
                                        __________________________________________________
                                        Middle name

                                         Chasen
                                        __________________________________________________
                                        Last name

                                         Sr.
                                        ___________________________
                                        Suffix (Sr., Jr., II, III)


3.     Other names you know             __________________________________________________
       the debtor has used in
       the last 8 years                 __________________________________________________
                                        __________________________________________________
       Include any assumed,
       married, maiden, or trade
       names, or doing business as
       names.


4.     Only the last 4 digits of         Unknown
       debtor’s Social Security
       Number or federal                                6 ____
                                                            1 ____
                                                               2 ____
                                                                   7
                                        xxx    – xx – ____                                   OR       9 xx – xx – ____ ____ ____ ____
       Individual Taxpayer
       Identification Number
       (ITIN)

5.     Any Employer
       Identification Numbers            Unknown
       (EINs) used in the last 8
       years                            ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                        EIN

                                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                        EIN


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Debtor       Brandon     Michael Chasen Sr.
             _______________________________________________________                      Case number (if known)_____________________________________



                                  Principal residence                                       Mailing address, if different from residence
6.   Debtor’s address


                                  13916 Green Branch Dr.
                                  _________________________________________________         _________________________________________________
                                  Number     Street                                         Number     Street


                                  _________________________________________________         _________________________________________________


                                  Phoenix                          MD      21131
                                  _________________________________________________         _________________________________________________
                                  City                            State   ZIP Code          City                            State   ZIP Code


                                  Baltimore County
                                  _________________________________________________
                                  County


                                  Principal place of business



                                  12 W. Montgomery Street
                                  _________________________________________________
                                  Number     Street


                                  _________________________________________________


                                  Baltimore                        MD      21230
                                  _________________________________________________
                                  City                            State   ZIP Code


                                  Baltimore City
                                  _________________________________________________
                                  County




7.   Type of business              Debtor does not operate a business
                                  Check one if the debtor operates a business:

                                   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                  
                                  ✔ None of the above

8.   Type of debt                 Each petitioner believes:
                                   Debts are primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                                      “incurred by an individual primarily for a personal, family, or household purpose.”

                                  
                                  ✔ Debts are primarily business debts. Business debts are debts that were incurred to obtain money
                                      for a business or investment or through the operation of the business or investment.


9.   Do you know of any            No
     bankruptcy cases
     pending by or against        
                                  ✔ Yes. Debtor _________________________________________________
                                                 Chasen Construction LLC                                       Affiliate
                                                                                                  Relationship __________________________
     any partner, spouse, or                         Maryland                            03/19/2025                            25-12356
                                           District __________________________Date filed _______________ Case number, if known___________________
     affiliate of this debtor?
                                                                                         MM / DD / YYYY


                                                   CC 1400 Aliceanna Street LLC
                                          Debtor _________________________________________________                      Affiliate
                                                                                                           Relationship ___________________________

                                                    Maryland
                                          District __________________________ Date filed 03/13/2025                            25-12153
                                                                                         _______________ Case number, if known___________________
                                                                                         MM / DD / YYYY


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Debtor       Brandon     Michael Chasen Sr.
             _______________________________________________________                               Case number (if known)_____________________________________



Part 3:      Report About the Case

10. Venue                              Check one:
   Reason for filing in this court.
                                       
                                       ✔ Over the last 180 days before the filing of this bankruptcy, the debtor has resided, had the principal place of
                                          business, or had principal assets in this district longer than in any other district.

                                        A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.
                                        Other reason. Explain. (See 28 U.S.C. § 1408.) ___________________________________________________


11. Allegations                        Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                       The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                       At least one box must be checked:
                                       ✔ The debtor is generally not paying such debtor’s debts as they become due, unless they are the subject of a
                                       
                                          bona fide dispute as to liability or amount.

                                        Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or
                                          authorized to take charge of less than substantially all of the property of the debtor for the purpose of enforcing a
                                          lien against such property, was appointed or took possession.


12. Has there been a                   
                                       ✔ No
   transfer of any claim
   against the debtor by or             Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule
   to any petitioner?                           1003(a).



13. Each petitioner’s claim                                                                                                                 Amount of the
                                          Name of petitioner                                     Nature of petitioner’s claim               claim above the
                                                                                                                                            value of any lien


                                      Sandy Spring Bank, a Division of                         Guaranty of Business Loan
                                      Atlantic Union Bank                                                                                    $
                                                                                                                                               28,922,378.51
                                                                                                                                             ________________



                                      Ferguson Enterprises, LLC                                Guaranty of Trade Debt
                                                                                                                                             $
                                                                                                                                                   70,658.89
                                                                                                                                             ________________


                                      Southland Insulators of Maryland, Guaranty of Trade Debt                                               $
                                      Inc.                                                                                                       517,255.16
                                                                                                                                             ________________




                                                                                                                                  Total      $
                                                                                                                                               29,510,292.56
                                                                                                                                             ________________



                                          If more than 3 petitioners, attach additional sheets with the statement under penalty
                                          of perjury, each petitioner’s (or representative’s) signature under the statement,
                                          along with the signature of the petitioner’s attorney, and the information on the
                                          petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the
                                          attorney following the format on this form.




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Debtor        Brandon     Michael Chasen Sr.
              _______________________________________________________                                    Case number (if known)_____________________________________



Part 4:     Request for Relief


   Petitioners request that an order for relief be entered against the debtor under the chapter specified in Part 1 of this petition. If a petitioning
   creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign
   representative appointed in a foreign proceeding, a certified copy of the order of the court granting recognition is attached.

   Petitioners declare under penalty of perjury that the information provided in this petition is true and correct. Petitioners understand that if they make a
   false statement, they could be fined up to $250,000 or imprisoned for up to 5 years, or both.
   18 U.S.C. §§ 152 and 3571. If relief is not ordered, the court may award attorneys’ fees, costs, damages, and punitive damages. 11 U.S.C. § 303(i).

   Petitioners or Petitioners’ Representative                                             Attorneys


________________________________________
 /s/ Michael Groft                        ________________________________________
                                            /s/ Jeffery T. Martin, Jr.
   Signature of petitioner or representative, including representative’s title            Signature of attorney

    Sandy Spring Bank, a Division
   __
    _________________________       of Atlantic Union Bank
                              __________________________                 _________         Jeffery T. Martin, Jr.
                                                                                          ________________________________________________________________
   Printed name of petitioner                                                             Printed name


    Date signed       06/16/2025
                     _________________
                                                                                           Martin Law Group, P.C
                                                                                          ________________________________________________________________
                     MM / DD / YYYY                                                       Firm name, if any

                                                                                           8065 Leesburg Pike, Suite 750
                                                                                          ________________________________________________________________
                                                                                          Number Street
   Mailing address of petitioner
                                                                                           Vienna                            VA       22182
                                                                                          ________________________________________________________________
    6831 Benjamin Franklin Dr.
   ______________________________________________________________                         City                             State                ZIP Code
   Number Street
                                                                                           Date signed     06/16/2025
                                                                                                           _________________
    Columbia                       MD        21046
   ______________________________________________________________                                          MM / DD / YYYY
   City                             State                ZIP Code
                                                                                           Contact phone 703-223-1822              Jeff@martinlawgroup.com
                                                                                                          _________________ Email ____________________________


   If petitioner is an individual and is not represented by an
   attorney:
    Contact phone          ____________________________

   Email                   ____________________________



   Name and mailing address of petitioner’s representative, if any

    Michael Groft, SVP
   ______________________________________________________________
   Name

    6831 Benjamin Franklin Dr.
   ______________________________________________________________
   Number Street

    Columbia                       MD        21046
   ______________________________________________________________
   City                             State                ZIP Code




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Debtor        Brandon     Michael Chasen Sr.
              _______________________________________________________                                    Case number (if known)_____________________________________




________________________________________
 /s/Cheryl Young                          ________________________________________
                                            /s/Shawn Charles Whittaker
   Signature of petitioner or representative, including representative’s title            Signature of Attorney

     Southland Insulators of Maryland, Inc.
   ______________________________________________________________                          Shawn Charles Whittaker
                                                                                          ________________________________________________________________
   Printed name of petitioner                                                             Printed name


    Date signed       06/12/2025
                     _________________
                                                                                           Whittaker / Myers, PC
                                                                                          ________________________________________________________________
                     MM / DD / YYYY                                                       Firm name, if any

                                                                                           1401 Rockville Pike, Suite 510
                                                                                          ________________________________________________________________
                                                                                          Number Street
   Mailing address of petitioner
                                                                                           Rockville                         MD       20852
                                                                                          ________________________________________________________________
    7501 Resource Court
   ______________________________________________________________                         City                             State                ZIP Code
   Number Street
                                                                                           Date signed     06/12/2025
                                                                                                           _________________
    Baltimore                      MD        21226
   ______________________________________________________________                                          MM / DD / YYYY
   City                             State                ZIP Code
                                                                                                          _________________ Email shawn@whittakermyers.com
                                                                                           Contact phone 301-838-4502             ____________________________


   Name and mailing address of petitioner’s representative, if any

    Cheryl Young, Credit Manager
   ______________________________________________________________
   Name

    7501 Resource Court
   ______________________________________________________________
   Number Street

    Baltimore                      MD        21226
   ______________________________________________________________
   City          State ZIP Code




________________________________________
 /s/ Andreia Magarinhos                   ________________________________________
                                            /s/ Jill D. Caravaggio
   Signature of petitioner or representative, including representative’s title            Signature of Attorney

    Ferguson Enterprises, LLC
   ______________________________________________________________                          Jill D. Caravaggio
                                                                                          ________________________________________________________________
   Printed name of petitioner                                                             Printed name


    Date signed       06/11/2025
                     _________________
                                                                                           Law Office of Jill D. Caravaggio
                                                                                          ________________________________________________________________
                     MM / DD / YYYY                                                       Firm name, if any

                                                                                           5100 Buckeystown Pike, Suite 250
                                                                                          ________________________________________________________________
                                                                                          Number Street
   Mailing address of petitioner
                                                                                           Frederick                         MD       21704
                                                                                          ________________________________________________________________
    13890 Lowe Street
   ______________________________________________________________                         City                             State                ZIP Code
   Number Street
                                                                                           Date signed     06/11/2025
                                                                                                           _________________
    Chantilly                      VA        20151
   ______________________________________________________________                                          MM / DD / YYYY
   City                             State                ZIP Code
                                                                                                          _________________ Email jill@jill-lawoffice.net
                                                                                           Contact phone 301-363-3913             ____________________________


   Name and mailing address of petitioner’s representative, if any

   Andreia Magarinhos, Director of Credit-Northeast
   ___________________________
   Name

    13890 Lowe St.
   ______________________________________________________________
   Number Street

    Chantilly                      VA        20151
   _____________________________________________________________
   City                             State             ZIP Code




Official Form 105                                                 Involuntary Petition Against an Individual                                        page 5

          Print                             Save As...                      Add Attachment                                                         Reset
